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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


JANE DOE,

       Plaintiff,

v.

GEORGIA DEPARTMENT OF                      Civ. Case No. 1:23-cv-5578-MLB
CORRECTIONS; et al.,

       Defendants.


    [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR
 AUTHORIZATION TO BRING ELECTRONIC EQUIPMENT INTO THE
                      COURTROOM

      IT IS HEREBY ORDERED that attorney Shelby Saxon, who represents

Plaintiff in this matter, be allowed to bring the following equipment to the United

States Courthouse, Atlanta, GA, Courtroom 1906, for the purpose of fully

responding to the Court’s inquiries at an emergency hearing to take place on

Wednesday, February 12, 2025, at 10:00 a.m.:

      1. Cellular telephones
      2. Laptops
      3. Other smart telephones and/or personal digital assistants, all of which may
      have a camera function.

      Proper identification will be required upon entering the security station. The

equipment shall be subject to inspection by the United States Marshal Service. This
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order shall be effective until the conclusion of the hearing.

SO ORDERED this ___ day of ______, 2025.

                                        ________________________________
                                        MICHAEL L. BROWN
                                        UNITED STATES DISTRICT JUDGE
